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In The Matter Of:

THE STATE OF TEXAS ex rel. v.
DEY, INC., ET AL.

CHRISTINE GAMMETO MARSH
June 27, 2002

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DEY, INC., ET AL.

June 27, 2002

Page 1
- (] CAUSE NO. GV002327 Page 2
al me STATE OF TEXAS IN THE DISTRICT COURT tH) APPEARANCES
[8] | VEN-A-CARE OF THE ) [2] FOR THE PLAINTIFF STATE OF TEXAS:
4 FLORIDA KEYS, INC. ) (3I MR. JOE CRAWFORD
Plaintiffs, ) MR. JARRETT ANDERSON
[5] .
4) Off f the Att G !
vs. ) TRAVIS COUNTY, TEXAS a ce otite Aomey ‘eneral
[6] State of Texas
DEY, INC.; ROXANE -)
, ’ 5) P.O. Box 12548
{7] LABORATORIES, INC, and ) Pl
WARRICK PHARMACEUTICALS ) Austin, Texas 78711-2548 (512) 475-4300
[8] CORPORATION, ) [6] (512) 474-1062 Fax
9] Defendants. ) 53rd JUDICIAL DISTRICT
[10] [7] FOR THE RELATOR:
(14)
8 MR. JAMES JOSEPH BREEN
ORAL AND VIDEOTAPED DEPOSITION OF I PH BR
[12] CHRISTINE GAMMETO MARSH The Breen Law Firm, P.A.
9 Thursday, June 27, 2002 9) 8201 Peters Road, Suite 1000
14] Plantation, Florida 33324 (954) 916-2713
{18] [19] (954) 916-2714 Fax
[16] ORAL DEPOSITION OF CHRISTINE GAMMETO MARSH,
[17] produced as a witness at the instance of the Plaintiffs ~and-
[18] and duly sworn, was taken In the above-styled and i4] MR. JOHN E. CLARK (Of Counsel)
[19] numbered cause on the 27th day of June 2002, from 8:09
[20] a.m. to 1:30 p.m., before Randall N. Finch, CSR in and Goode Casseb Jones Riklin Choate &
[21] for the State of Texas, reported by machine shorthand, ia] Watson, P.C.
[22] at the offices of Boehringer Ingelheim, Inc., 900
[23] Ridgebury Road, Ridgefield, Connecticut, pursuant to 2122 North Main Avenue
[24] Notice, the Texas Rules of Civil Procedure and the £49] P.O. Box 120480
{25] provisions as previously set forth.
San Antonio, Texas 78212-9680 (210) 733-6030 .
[14] Fax (210) 733-0330
-and-
[15] MS. JOY CLAIRMONT
Berger & Montague
[16] 1622 Locust Street
Philadelphia, Pennsylvania 19103
[17]
FOR THE DEFENDANT DEY, INC.:
[18]
MR. STEPHEN M. HUDSPETH
[19} Coudert Brothers
1114 Avenue of the Americas
[20] New York, New York 10036-7703 (212) 626-4442
(212) 626-4120
(21]
FOR THE DEFENDANT WARRICK PHARMACEUTICALS CORPORATION:
[22]
MS. KARIN TORGERSON
[23] Locke Liddell & Sapp, L.L.P.
2200 Ross Avenue, Suite 2200
[24] Dallas, Texas 75201-6776 (214) 740-8000
(214) 740-8800 Fax
[25] -
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1} A: The rebate — there was a sepatate department
i] that handled rebates. It was not in my area of
8] responsibility. .
(41 : What department was that?
: It was called rebates.
: Who was in charge of that at Roxane?
: An individual, a manager.
: What’s his name?
: Carl Ciardelli.
: And currently Mr. Ciardelli works for
Boehringer Ingelheim. Is that correct? *

A: No, he does not.

Q: Where does Mr. Ciardelli work now?

A: I’m not exactly sure where — the name of the
115] organization that he works for now.
tie) Q: Well, basically what’s your understanding of
(17) the employer of Mr. Ciardelli now?
ig} A: They’re engaged in pharmaceuticals.
193 Q: And do you have a geographic region within the
29] United States where this company is located?
21) A: Columbus, Ohio.
(223 Q: What’s —
23} A: Go ahead.
4) Q: Can you take a logical guess at who that
(25, employer is?

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Page 114
1 A: Ross — I believe it’s Ross Laboratories.
2] Q: Okay.Thank you. When did Mr. Ciardelli go
3] to work for Ross, if you know?
4] A: I believe it was May of 2001.
Q: You mentioned that Mr. Powers also instructed |
is) you as to “the job that he performs.” In that initial
7] month of training at Roxane, what did Mr. Powers
(3) explain to you was the job that he performs?
] A: Our conversations were limited, but in essence
(10) it was the administration of contracts like I had been
(11) discussing earlier.
iq] Q: Okay. And again, the administration of
[13] contracts did involve the calculation of those contract
14] prices after applicable rebates. Correct?
tis) A: I did not have responsibility for the rebates.
[16] Your ~~ your question — we need to go back over your
[17] question.

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tt] rebate operations interacted with one another?
A: They actually didn’t interact that closely
{3} together.
4)  Q: Well, let’s just take this under a
8) hypothetical. For instance, a customer has —
[6] Negotiates a contract with Roxane. The price is then
7 determined. Correct?
3] A: Once the contract is signed, yeah, as part of
9} Negotiations.
(10} ~=Q: And that price would be inputted into the
11] contract administration computer system at Roxane then
(12] known as BPCS. Correct?
tia} ~=—s A: - Yes.

Q: If that given customer earned a rebate, how
would that rebate be used in “administering the
contract”?

A: I was not — I was not involved in the rebate
part while I was at Roxane.

Q: So you don’t have any idea how that was
handled?

: Ican’t answer those questions, no.
: Because you don’t know?

: Because I do not know.

: What is the “PAC process”? P-A-C.

: It stands for pricing and conditions.

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Page 116°.
tt] Q: Was that a system that was in place at Roxane?
2 +A: It’s a process, not a system.
3] Q: Thank you. Was that a process that was in
4] place at Roxane?
5} A: The PAC process was not rolled out until after
i) I was no longer functioning in that role. So I don’t
7 know how it was used at Roxane.
3] Q: What is the purpose of the PAC process?
i] A: I don’t — I don’t know the specific purpose
tio) Of — of the PAC process.
11] Q: Do you know the general overriding purpose of
t12] the PAC process?
13] A: Generally, it pertains to contracting —
14) contracting the products.
is}  Q: Does it pertain to the rebating of products?
tie) A: For which — the PAC process — like I said, I
117) don’t know how the PAC process was used for Roxane.

a) Q: Well, I realize that you testified you didn’t ig) Q: How is it used at Boehringer Ingelheim?

ti] have responsibility for it, but did you understand that 199 A: There’s a committee.

(20) there was interaction between contract administration 20)  Q: Are you on that committee?

21) and rebate administration? 2) A: Yes,lam.

22, A: The rebate group reported in to John Powers. 223  Q: Who else is on the committee?

3} And I reported in to John Powers. 3} A: There are several other individuals.

24 Q: And to that extent, did you understand that 241 Q: Do you know their names?

(25) the two operations, the contract operations and the ps) A: Gregg Ciarelli is on the Committee. Gary

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THE STATE OE TERAS Ux i4> “GP BS Document 6195-14 Filed 06/26/ cast GAMMETO MARSH
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Ellexson is on the committee. Jim Kingisonthe
committee. Hector Diaz is on the committee. Bob
Socorro is on the committee. Bill Hankins is on the
committee. And Scott Trulion is on the committee.

Q: Does that PAC process committee at BI govern
any aspect of Roxane generic drug sales?

A: No, it does not.

Q: It pertains only to —

A: To the Boehringer product line.

Q: Is it your understanding that the PAC process
doesn’t apply to generic drug sales?

A: Boehringer doesn’t have any generic products.

Q: Does Boehringer have generic products sold
under the Roxane label?

A: That's a — they're Roxane products, not
Boehringer products.

Q: Are Roxane — when Roxane products, generic
products are ordered, are they ordered through the
Boehringer Ingelheim Service Center?

A: The BI Service center, yes.

Q: And the BI stands for Boehringer Ingelheim
Service Center. Right?

A: I believe it does, yes.

Q: So Boehringer Ingelheim has involvement in the
sales of Roxane drugs. Correct?

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(1) 2001.
2  Q: But the committee existed in the year 2000.
3] Correct?
4] A: Yes. I replaced John Powers when he left the
8] Organization.
ts] Q: Have you ever known that Mr. Powers was also
71 involved in refereeing an argument between Carl
js] Ciardelli and Bob Socorro?
@ A: Ido not know.
(19) Q: You mentioned Mr. Ciardelli earlier.
14) A: Yes.
1127 Q: Before he left the company, what was his job
[13] position again?
114) A: Manager, rebate programs. I don’t remember
(15) his contact title.
(16) Q: So he managed the application of rebates in
117) Roxane — in the sales of Roxane’s drugs. Correct?
(18) A: He managed the administration of the rebate
[19] programs. That was my knowledge.
0) Q: Okay. And that pertained to BI as well as
21] Roxane. Correct?
22] A: No. Only Roxane.
231 + Q: Only Roxane. What is Bob Socorto’s job title?
(24) It —
5) A: Today or when I first started with the

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1} A: Please clarify what you mean by involvement. t1] Company?

@ Q: They’re receiving orders of drugs. 2 Q: Well, let’s start with today.

33 A: The orders go into the service center, yes. 13] A: Today he’s an executive director. I don’t

4]  Q: And they in turn fill those orders. Correct? 14) know the rest of his job title.

(5) <A: Yes. i]  Q: An executive director of what, basically?

i) Q: Boehringer Ingelheim? «=A: Generally managed care. I don’t know the
A

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: The order is placed at the service center, but
it’s shipped out of the facility in — at — it’s not
shipped out here.

Q: Is it shipped out of the facility in Columbus,
Ohio.

A: That is my understanding.

Q: And is that facility the “Roxane facility”?

A: Yes, it is.

Q: And the Roxane facility has manufacturing
capabilities. Correct?

A: Yes, that is correct.

Q: Were you ever knowledgeable of an argument
between Bob Socorro and Carl Ciardelli regarding the
PAC process?

A: An argument between Bob — I don’t remember.

Q: When did you first become a member of the PAC
committee?

A: Not till I — in my — that we were talking
about earlier when I rattled off the names? Not until

specific title.

Q: Does that entail selling product to managed
care customers?

A: He manages a field force.

Q: A field force;which sales products to managed
cafe customers?

A: They meet with managed care organizations.
That’s my understanding.

Q: And in meeting with them, are they selling
product?

A: When you say sell, can you clarify what you
[18] Mean exactly?
iq] Q: Well, you know, I’m just using it in its
[29] ordinary meaning in the English language. Are they
(21) trying to sell product to a customer?
22] A: They sit down and have meetings with — I
233 don’t know specifically what goes on in the field. I
4] don’t have direct day-ta.day involvement with field
[25] personnel. ,

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